      21-50426-rbk Doc#7 Filed 04/14/21 Entered 04/14/21 13:24:53 Ch 7 First Mtg Corp No
                                       POC Pg 1 of 1
Information to identify the case:
Debtor
                CQ Restaurants LLC DBA Planet Sub                                               EIN:   32−0457826
                Name

United States Bankruptcy Court       Western District of Texas                                  Date case filed in chapter:          11        4/9/21
                                                                                                Date case converted to chapter:
Case number:        21−50426−rbk                                                                                                      7      4/14/21

                                                                      AMENDED
Converted from a Chapter 11 to a Chapter 7

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20
For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        CQ Restaurants LLC DBA Planet Sub

2. All other names used in the
   last 8 years
3. Address                                   8823 Tradeway
                                             San Antonio, TX 78217

4. Debtor's attorney                         Edward L Bravenec                                                    Contact phone (210) 223−4080
                                             405 South Presa
    Name and address                         San Antonio, TX 78205                                                Email: braveknight@att.net

5. Bankruptcy trustee                        Jose C Rodriguez                                                     Contact phone (210) 738−8881
                                             342 W Woodlawn, Suite 103
    Name and address                         San Antonio, TX 78212                                                Email: jrodlaw@sbcglobal.net

6. Bankruptcy clerk's office                 615 E. HOUSTON STREET, ROOM 597                                      Hours open Monday − Friday 8:00 AM −
                                             SAN ANTONIO, TX 78205                                                4:00 PM
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone (210) 472−6720
    at this office or online at
    https://pacer.uscourts.gov. See                                                                               Date: 4/14/21
    Court website for electronic filing
    information:
    www.txwb.uscourts.gov.

7. Meeting of creditors                      May 20, 2021 at 01:00 PM                                             Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Phone: (877)985−4677 Code#: 3546280
    questioned under oath. Creditors         so, the date will be on the court docket.
    may attend, but are not required to
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
